Case 3:51-cv-01247-JO-SBC

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5 ) / zis a PER Id 3l OWNERSHIP MWD, DESIGNATION PARCEL NO. AREA
/ ots: Po ol MARIUS A 72W-3-135| 151.00 AC.
&7 [x 5 a : NICOLAS, MARIUS A. & - T2W-4~135 40.00 AC.
_ ve 2 5 ,
& air = 7 MARY NICOLAS, ET UX 1&4 72w-9-135|  40.00Ac.
3 - : ! Oe
2 CA Npoes "s 5 5 | 72W-10-135 | 369.00 AC.
2! . Soe, |! _
3 ieee ° Yo a MRS | w-3rei| /f rw 72W-12-132 | 1.60.00AC,
oe eee \ 2 2 72W-t1-132| 400.00AC.
a , Seah (8 | ROBERTSON, ALMA C., AULD, | ALMA C. 5 72W-1-132]} —79.00AC
33 Uae y 35 | 360 f BARBARA ANN &@ WILLIAM K. | ROBERTSON, ET AL row pclae! ao ooac
~ c be a 72W-3-132] 206.90AC.
4 “  62w-34-127~ 7 y . : 6 L
5 “ 4 \ ) ) wy 82W-36-67 + - .
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‘ > 2221 A 72W-1- 131 — 80.00AC.
« uw] wr L - Bat 6S.,S.B.M. GARTLER, STANLEY STANLEY GARTLER it
™ BM: 7 \ 72Wef-13L) SP ~ TiW-6-93° [\T-75.,S.8.M MEEK,NATHAN A., JR, & THE DUQUE
“7 fi \@ Gay) Pee NG 1s | 2 WILMA; HOTCHKISS, RAY 6.& | INVESTMENT CO. 1S GIW-31-81 —_232.30AC.
Br AL MINNIE 17 393.20AC
j ce — yo \) SHIPLEY, ROY E. & BERYL | ROY E. SHIPLEY, ET UX 6IW- 31-67 93.20AC,
§ r¢ 6) ome" ae 82 Nrew)t-130 = eT RAWSON, LEWIS & ROBERTS,| LEWIS RAWSON 2} TiW-6-67 306.96AC.
4, 2 \ i . 6 JOHN L. :
T2W- 3-134 “ “Ge v BUTTON, JESSE D. & THE AMERICAN
72W- 2-132 a ST $-67 ap TIw-6-1 LOTA T. CANCER SOCIETY 23 7IW-7-94 — 612,80.AC.
3- Wet NY
7AIW- 3-152 TAW 22183 63 29 BASHAW, U.N, & HELEN J. J.N. BASHAW 31 T2W-2-133 40.00AC.
me 6) 4 GREER mo Of sass : BAATZ, ELMER & SCHUMATE, | ROY M. BRYANT,ET AL 33 T2W-1-129  321.00AC.
~ ae No ‘ OLIVE ‘0.
ae Soeise el DIETTERICK, MARY R. MARY R. DIETTERICH 35 72W-1-130 — 160.00AC.
SANG) aN ROBINSON AND .
. u 2j “ FAGAN INC. 3 62 W-34-127 6.98AC.
: . 72W-I1-132 b 72W-12- 146: : TiW-7-94 UNITED STATES OF 7IW-6-1 39. 82AC,
) wee / 10 6) ‘1 @5) 12 7 g AMERICA 7 [72W-2~1 120.00 AC.
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jis ,é& ai \ MABEL SEWELL
jog} uf. si 72w-10- 138 |/qoweu-ias} ~~. Ld Tawri2-t41 83) COLLINS 9 72W-3-134 3.7340.
( K. GF NOE. 4 Zo ee wer NATHAN §. SHORE 3 62W-36-67  640.00AC.
on, - pot Oo & / BN. oe, : Ne @ a}, “. OAC.
NX L ; ~ L ; 4 } : nos \ JIMMIE KAZAROFF 19 TIW-6-93 118.2
ee bey of BORE: — rp WILLIAM M. KNEZEVICH 25 72W- 12-146 160.00 AC.
SL / | i Xs, | co boy rR) 2 ie. ALEXANDER F. BOREL 27 T2W-12-141 80.00AC.
Tey }- : ) PIERRE POURROY, IR. 29 T2W- 11 145 80,00AC.
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Ap on. ar THE METROPOLITAN WATER DISTRICT
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CT : TUCALOTA CREEK, SANTA
072.16 AC, RIPARIAN LANDS per tJ 3} ;
— GERTRUDIS CREEK AND
NON RIPARIAN LANDS per tu SIA ‘
: 124 8.738C. CI 2000 1000 0 1000 2000 TRIBUTARIES
se0.o3ac. ] [APPARENT RIPARIAN LANOS per 1U31A Exnibit “A” SCALE IN FEET LAKE SKINNER LANDS
NOVEMBER 1974
357.85AC. { , | UNCLASSIFIED LANDS
6058.77 AC TOTAL AREA ACQUIRED BY MwW.0- USA vs FALLBROOK PUD

